Case 1:11-cv-21539-AJ Document 1 Entered on FLSD Docket 05/02/2011 Page 1 of 6



                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA
                                 MIAMI-DADE DIVISION



MARIO VINA,

Plaintiff,


vs.                                             Case No.:
CREDITORS FINANCIAL GROUP
LLC,

Defendant.
_______________________________/


                                           COMPLAINT


        1.    Plaintiff alleges violations of the Fair Debt Collection Practices Act, 15 U.S.C.

1692 et seq. (“FDCPA”).

                                          JURISDICTION

        2.     Jurisdiction of this Court arises under 28 U.S.C. § 1331, 1337, and pursuant to 15

U.S.C. § 1692 et seq. (“FDCPA”).

        3.     This action arises out of Defendant’s violations of the FDCPA, and out of the

invasions of Plaintiff’s personal and financial privacy by this Defendant and its agents in its

illegal effort to collect a consumer debt from Plaintiff.

        4.     Venue is proper in this District because the acts and transactions occurred here,

Plaintiff resides here, and Defendant transacts business here.




                                                  1
Case 1:11-cv-21539-AJ Document 1 Entered on FLSD Docket 05/02/2011 Page 2 of 6



                                                PARTIES

        5.       Plaintiff, Mario Vina, is a natural person who resides in the City of Hialeah,

County of Miami-Dade, State of Florida, and is a “consumer” as that term is defined by 15

U.S.C. § 1692a(3).

        6.       Defendant Creditors Financial Group LLC (hereinafter “Defendant Creditors

Financial”) is a collection agency operating from an address of 3131 South Vaughn Way, Suite

110, Aurora, CO 80014, and is a “debt collector” as that term is defined by 15 U.S.C. §

1692a(6).

        7.       Defendant Creditors Financial regularly uses the mail and telephone in a business

the principal purpose of which is the collection of debts.

        8.       Defendant Creditors Financial regularly collects or attempts to collect debts for

other parties.

        9.       Defendant Creditors Financial is a “debt collector” as defined in the FDCPA.

        10.      Defendant Creditors Financial was acting as a debt collector with respect to the

collection of Plaintiff’s alleged debt.

                                    FACTUAL ALLEGATIONS

        11.      Plaintiff incurred a financial obligation that was primarily for personal, family or

household purposes and is therefore a “debt” as that term is defined by 15 U.S.C. § 1692a(5).

        12.      Sometime thereafter, the debt was consigned, placed or otherwise transferred to

Defendant for collection from this Plaintiff.

        13.      Defendant sought to collect from Plaintiff an alleged debt arising from

transactions incurred for personal, family or household purposes.




                                                   2
Case 1:11-cv-21539-AJ Document 1 Entered on FLSD Docket 05/02/2011 Page 3 of 6



       14.     After the initial correspondence with Plaintiff, Defendant has failed to send a

 letter to Plaintiff notifying him of his rights and privileges under the law.

       15.     Defendant has failed to provide any documentation detailing the purchases,

 payments, interest, and late charges, if any, thereby making it impossible for Plaintiff to

 determine whether or not he owes the alleged debt and whether the alleged debt was correctly

 calculated.

                                      COLLECTION CALLS

       16.     In or about March, 2011, Defendant Creditors Financial’s collectors contacted

Plaintiff by telephone multiple times in an effort to collect this debt, which were

“communications” in an attempt to collect a debt as that term is defined by 15 U.S.C. § 1692a(2).

       17.     During these March, 2011, calls, Defendant left voice mails on Plaintiff’s

answering machine, and failed to identify themselves as debt collectors.

                                            SUMMARY

       18.     All of the above-described collection communications made to Plaintiff by

Defendant Creditors Financial, and collection employees employed by Defendant Creditors

Financial, were made in violation of numerous and multiple provisions of the FDCPA, including

but not limited to 15 U.S.C. § 1692(d)6, and 1692e(11).

       19.     During its collection communications, Defendant and the individual debt

collectors employed by Defendant Creditors Financial failed to provide Plaintiff with the notice

required by 15 U.S.C. § 1692(d) 6, and 1692e(11), amongst others.

       20.     The above-detailed conduct by this Defendant of harassing Plaintiff in an effort to

collect this debt were violations of numerous and multiple provisions of the FDCPA, including

but not limited to all of the above mentioned provisions of the FDCPA.



                                                  3
Case 1:11-cv-21539-AJ Document 1 Entered on FLSD Docket 05/02/2011 Page 4 of 6



                                           TRIAL BY JURY

          21.     Plaintiff is entitled to and hereby respectfully demands a trial by jury on all issues

so triable. US Const. amend. 7. Fed.R.Civ.P. 38.




                                         CAUSES OF ACTION

                                               COUNT 1

                VIOLATIONS OF THE FAIR DEBT COLLECTION PRACTICES ACT
                                  15 U.S.C. § 1692 et seq.


          22.     Plaintiff incorporates by reference all of the above paragraphs of this Complaint

as though fully stated herein.

          23.     The foregoing acts and omissions of the Defendant and its agents constitute

numerous and multiple violations of the FDCPA including, but not limited to, each and every

one of the above-cited provisions of the FDCPA, 15 U.S.C. § 1692 et seq.

          24.     As a result of the Defendant’s violations of the FDCPA, Plaintiff is entitled to

statutory damages in an amount up to $1,000.00 pursuant to 15 U.S.C. § 1692k(a)(2)(A); and,

reasonable attorneys’ fees and costs pursuant to 15 U.S.C. § 1692k(a)(3), from the Defendant

herein.

                                               COUNT 2

                  FAILURE TO DISCLOSE STATUS AS A DEBT COLLECTOR

          25.     Defendant failed to disclose in the telephone messages that it is a debt collector in

violation of 15 U.S.C. 1692e(11).




                                                    4
Case 1:11-cv-21539-AJ Document 1 Entered on FLSD Docket 05/02/2011 Page 5 of 6



       WHEREFORE, Plaintiff requests that this Honorable Court enter judgment in favor of

Plaintiffs and against Defendant for:


a)    Damages and

b)    Attorneys’ fees and costs.

                                              COUNT 3

             FAILURE TO MAKE MEANINGFUL DISCLOSURE OF IDENTITY

       26.     Defendant placed telephone calls to Plaintiff without making meaningful

disclosures of its identity when it failed to disclose that they were debt collectors, and the

purpose of Defendant’s communications in the telephone messages in violation of 15 U.S.C.

1692d(6).

                                              COUNT 4

             VIOLATION OF THE FAIR DEBT COLLECTION PRACTICES ACT
                                15 U.S.C. § 1692g

       27.     Plaintiff incorporates by reference all of the above paragraphs of this Complaint

as though fully stated herein.

       28.     Defendant violated §1692g of the FDCPA by failing to send written notification,

within five (5) days after its initial communication with Plaintiff, advising Plaintiff of his rights

to dispute the debt or request verification of the deft.

       29.     Defendant acted in an otherwise deceptive, unfair and unconscionable manner and

failed to comply with the FDCPA.



       WHEREFORE, Plaintiff requests that this Honorable Court enter judgment in favor of

Plaintiff and against Defendant for:



                                                   5
Case 1:11-cv-21539-AJ Document 1 Entered on FLSD Docket 05/02/2011 Page 6 of 6




A)   Damages and

B)   Attorneys’ fees and costs.

                                  PRAYER FOR RELIEF

       WHEREFORE, Plaintiff prays that judgment be entered against the Defendant.


Dated: May 2, 2011                        Respectfully submitted,


                                          /s Andrew I. Glenn________________________
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                                             6
